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               UNITED STATES DISTRICT COURT
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              SOUTHERN DISTRICT OF GEORGIA

                      STATE SBORO DIVISION




BOB AARON MIKELL                      )
                                      )
I,,                                   ) Case No. CV609-065
                                      )           CR606-026
UNITED STATES OF AMERICA              )


                                   ORDER

      The Court DENIES 28 U.S.C. § 2255 movant Bob Aaron Mikell's

Motion for a 75-day extension of time within which to reply to the

government's response to his § 2255 motion. CV609-065, doc. 26. He in

fact has filed a reply, though he uses the obsolete "Traverse" term. Doe.

28. Apparently, movant was worried that his reply was untimely and

would not be considered. The Court will consider it.

      Mikell's "Motion Reserving the Right to File Additional Motions,"

doe. 27, to the extent that it seeks to suspend judicial action on the §

2255 motion, is DENIED. Like any litigant, Mikell may file motions and
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briefs as the need arises. Finally, his Motion for Entry of Default (doe.

25) is DENIED as frivolous.

      SO ORDERED this 18th day of August, 2010.



                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT of GEORGIA




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